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                  EXHIBIT 11
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                                                                                                                   Account:


                                                                                                                   Invoice: 8810715198

        Questions about paying your bill?
                                                                                                                   Billing period: Feb 27 - Mar 26, 2025


        Go to https://go.vzw.com/billing-support to learn more.


                                                                                                                      Questions about your bill?


                                                                                                                      verizon.com/support

        Address change:                                                                                               800-922-0204



        Change your address at go.vzw.com/changeaddress.




        Important Information:


        Many billing questions can be resolved easily online or with the My

        Verizon App. Customer service can also assist you by phone, chat or

        in a retail store for billing questions or disputes.



        All written communication related to billing disputes and checks

        tendered as payment in full to a billing dispute must be sent to this

        below address:



        Verizon

        Attn: Correspondence Team

        PO Box 15069

        Albany, NY 12212



        Select a checkbox that describes how we can help you along with

        any additional information and include it with your written

        correspondence.




Automatic Payment Enrollment for Account:                           DREW DESBORDES

By signing below, you authorize Verizon to electronically debit your bank account each month for the total balance due on your account. The check you send will be used to
setup Automatic Payment. You will be notified each month of the date and amount of the debit 10 days in advance of the payment. You agree to receive all Auto Pay related
communications electronically. I understand and accept these terms. This agreement does not alter the terms of your existing Customer Agreement. I agree that Verizon is not
liable for erroneous bill statements or incorrect debits to my account. To withdraw your authorization you must call Verizon. Check with your bank for any charges.

     1. Check this box.       2. Sign name in box below, as shown on the bill and date.            3. Return this slip with your payment. Do not send a voided check.




 Please select a checkbox that best describes how we can help you and include details in the box below with any written correspondence.




    Payment         Address         Name          Billing        Service

   Verification     Change         Change        Dispute         Change          Other




 Additional information (for example new address or details on your request)
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                                                               Account:


                                                               Invoice: 8810715198


                                                               Billing period: Feb 27 - Mar 26, 2025


Your March bill is $137.52
Due Apr 18
                                                                Questions about your bill?


                                                                verizon.com/support

                                                                800-922-0204



  Since your last bill
       You paid $126.72.
                                                                  Review your bill online
       Your bill increased by $10.80.
                                                                  An itemized bill breakdown of all

                                                                  charges and credits is available on

                                                                  the My Verizon app and online.




                                                                  Scan the QR code

                                                                  with your camera

                                                                  app or go to

                                                                  go.vzw.com/bill.



Bill summary by line
Account-wide charges & credits                     $0.00


                                                                Surcharges, taxes and gov fees
Drew Desbordes                                    $137.52
                                                                The total amount due for this month
Apple iPhone 15 Pro Max (404-405-
                                                                includes surcharges of $9.88 and

                                                                taxes and gov fees of $2.70. For an
Total:                                           $137.52        itemized list of taxes, fees and

                                                                surcharges visit go.vzw.com/bill.




                                                                                                        3
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                                                                      Account:


                                                                      Invoice: 8810715198


Charges by line details                                               Billing period: Feb 27 - Mar 26, 2025




Account-wide charges & credits                        $0.00




Drew Desbordes                                      $137.52

Apple iPhone 15 Pro Max

404-405-




                                                                       Plan
One-time charges & credits                             $9.95


                                                                       Plans are billed a month in advance.
International minutes - Mobile                              $9.95

                                                                       Includes the $10.00/month discount on

                                                                       your UNLIMITED ULTIMATE plan for being

                                                                       enrolled in Auto Pay and paper-free billing.
Plan                                                  $90.00



Unlimited Ultimate                                     $100.00

                                                                       Services & Perks
Mar 27 - Apr 26

                                                                       Taxes for Services & Perks purchases and
Auto Pay and paper-free billing discount               -$10.00
                                                                       "Purchases from other vendors" are billed
Mar 27 - Apr 26
                                                                       in "Taxes and gov fees." For a breakout of

                                                                       tax details visit go.vzw.com/mybill.




Services & perks                                      $24.99



Verizon Mobile Protect                                  $19.00

Mar 27 - Apr 26


Verizon Cloud 600 GB                                        $5.99

Mar 27 - Apr 26




Surcharges                                             $9.88



Fed Universal Service Charge                                $6.19



Regulatory Charge                                           $0.19



Admin & Telco Recovery Charge                            $3.50




Taxes & gov fees                                       $2.70



GA Local 911 Surcharge                                      $1.50



GA State Sls Tax-Telco                                   $0.62



Fulton Cnty Sls Tax-Telco                                $0.58




                                                                                                                      4
